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     STEVEN F. GRUEL (CSBN 213148)
 1
     315 Montgomery Street, 9th Floor
 2   San Francisco, California 94104
     Telephone Number (415) 989-1253
 3   Fax Number (415) 829-4304
     attystevengruel@sbcglobal.net
 4
     www.gruellaw.com
 5
     Attorney for Candy Wu
 6

 7                                   UNITED STATES DISTRICT COURT
 8                                   EASTERN DISTRICT OF CALIFORNIA
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10                                                   )   No. CR-2:08-CR-00064-MCE
     UNITED STATES OF AMERICA,                       )
11                                                   )   STIPULATION AND ORDER TO
                     Plaintiff,                      )   CONTINUE THE MAY 2, 2013
12                                                   )   SENTENCING DATE TO MAY 16, 2013
            Vs.                                      )
13                                                   )   Honorable Morrison C. England
     CANDY WU,                                       )
14                                                   )
                     Defendant.                      )
15                                                   )
                                                     )
16                                                   )
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        IT IS HEREBY STIPULATED by and between Assistant United States Attorney, Michael
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     Beckwith, counsel for the Plaintiff, and Defendant Candy Wu, by her Counsel, Steven F. Gruel,
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     that the Sentencing Date currently scheduled for May 2, 2013, at 9:00 a.m., is continued to May
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     16, 2013 at 9:00 a.m., or as soon thereafter as is convenient for the Court.
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             The Court interpreter coordinator, Yolanda Riley Portal, and the United States Probation
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     Officer assigned to this case has been notified of this continuance and has indicated that May 16,
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     2013, is an available date.
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 1          IT IS SO STIPULATED.

 2
     Dated: May 1, 2013         __/s/_STEVEN GRUEL________________
 3                               STEVEN F. GRUEL
                                 Attorney for Candy Wu
 4

 5
     Dated: May 1, 2013         _/s/_MICHAEL BECKWITH_________________
 6
                                MICHAEL BECKWITH
 7
                                Attorney for United States of America

 8

 9
                                   ORDER
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11
            IT IS SO ORDERED.
12
     DATE: May 1, 2013
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15                                  ___________________________________________
                                    MORRISON C. ENGLAND, JR., CHIEF JUDGE
16                                  UNITED STATES DISTRICT COURT
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